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CQNEIDEN.TI_AL

'I'HIS TOLL]NG AGREEMENT (“Agreement”) shall be effective as of
t‘)ctober 18, 2000, and is entered into by and between the parties identified in the
caption to the draft complaint attached hereto as Exhibit _A (“Complaint”). For
purposes of identification only, the plaintiffs identified` iii the caption to the
Complaint and any members of the putative classes o'r subclasses identified herein
will be referred to collectively hereafter as the “Plaintifl` Paities. ” The` defendants
identified m the caption to the Complaint will be referred to collectively hereager
as the “Defendant Part:ies. ”

WHEREAS, some or all of the Plaintiff Parties assert they may have
cne or more causes of action against some or all of the Defenda_i_it Pa:rties in
connection with the events alleged in the Complaint;

WHEREAS, each of the Defendant parties hereto denies any
wrongdoing of any nature on their respective parts arising out of or in connection
with events alleged m the Complaint; and, .

. WHEREAS, the all parties seek to defer litigation between or among
themselves while they attempt to resolve their differences;

NOW, THEREFORE, in this independent and separately enforceable
agreemeot, it hereby is agreed as follows:

l_. The running of all statutes of limitations or claim deadlines shall
.be tolled and/or suspended for a period beginning October 18, 2000 and -
continuing thereager until temiinated by written notice as provided`herein (the
‘Tolling Period”). The Tolling Period shall not be asserted or relied on by any
party in computing the running of any statute of limitations, other deadline, time
limitation or doctrine based in whole or in part upon the passage of time (whether
gratutory, contractual, legal, equitable or by way of laches, waiver, or cstoppel)
applicable to all or part of any claim (including claims for indemnity o`r .
eoutribution), cause of action, liability, damages, remedy o_r any defense thereto
(collectively “Clai`m or Defense’ ’) arising out of the subject matter of the

Complaint.

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2. Nothing in the Tolling Agreement or in the circumstances giving
rise to it shall revive any Claim or De`fense already barred in whole or in part as of
the commencement of the Tolling Period, or be construed as an acknowledgement
by any party that any Claim or Defense was or was not barred or about to be
barred in whole or in pait.

_ 3. The Tolling Period shall remain in effect until terminated through
written notice effective 10 days ager the date ofmailing, providing that m no
event shall the Tolling Period terminate prior to November 20, 2000. Notice shall
consist in a written statement of the intent to terminate the Tolling Period, and
shall be delivered by facsimile and by U. S. Mail addressed as follows:

T 0 Plaintij`Parties:

Michael`Rubin _

Altschuler, Berz.on, Nussbaum, Rubin & Demain
177 Post Street, Suite 300

San Francisco, CA 94108_

T 0 Defendant Parties:

Alan W. Sparer

Howard, Rice, Nemero`vslci, Canady, Falk
& Rablcin, A Professional Corporation

Three Embarcadero Center, Seventh Floor

San Francisco_. CA 94111 '

4. The attorneys signing this Agreement below warrant that they are
authorized to do so on` behalf of their respective clients and that their respective__
clients are legally empowered to enter into this Agreement .

5. This Agreement shall be governed by the law of the State of
Cfali'fomia applicable to contracts made and to be wholly performed in_that State.
']`his Agreement represents the entire understanding of the parties on the subject
matter hereof superseding all prior understandings whether.oral or written, and
may be modified only by a written agreement signed by all of the parties hereto.- _

6. Neither the execution of this Agreement nor its contents shall be
used or construed in any way as an admission of liability by any party hereto.

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» '7. The parties may execute this document in multiple counterparts,
all of which shall constitute the same agreement Signatures may be delivered by
tacsimile transmission

i)awa: oqcober _2_7_,_2000 ALTSHULER, BERzoN,' _
'- - NUssBAUM, RUBIN & DEMAIN

By_/%/AA¢JMW) /eAK_

ByMicliael Rubin
Attomeys for Plaintitl` Parties

 

i)aied: october_Z__?_', 2000 ' ' ` HOWARD, 'RICE, NEMERovsici,
cANAD ,FALK saw RAB

_By: 'IVL(./t/
Alan W. Sparer&/ _
Attorneys for Defendant Pai't:ies -

 

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__N_lichael Rubin (#80618) ,_

Scott A. Kronland (#171693)

Meera Trehan (#200509)‘

Altshulcr. Berzon, Nussbaum, Rubin & Dcmain
177 Post Street, Suite 300

San Francisco. CA 94108

Te.tephon¢: (415) 421-7151

Facsimile: (415) 362-8064

- .. Attomeys forPlaintig`s

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Fo_)z sri'rLEMENr PUaPosas' oNLi'

m THE uNm-:D`srArEs Di`s'raicr coURT

NOR`HIERN DISTRICT OF~CALIFORN.[A

J.ANE DOE l; JA.NE DOE ll through her Guardian JANE )
DOE HI; JANE DOE IIl and JOHN_ DOE IV as Parents and)
Successors in Intere_st of JANE DOE V; SHREEKANTH )
KOLLIPARA; SRIDEVI GANII; LAKSHMI `
~ G.¢_LLIREDDY;' and All Ochers Similarly Siiuaied,'

Plainciffs, -
V.

LAKJR.EDDY BALI REDDYl an individual; VUAY
KUMAR LAKIREDDY, an individual; PRA_SAD
_ LAKIREDDY, an individual; lAYAPRAKA-SH REDDY
LAKIREDDY, an individual; VE_NKATESWARA REDDY)
LAKIREDDY, an individual; and the businesses they )
controlled and/or operated, including PASAND MADRAS )
CUISINE, a Ca|ifomia corporation; PASAND, INC., a )
California corporation; LAKIREDDY INVESTMENT CO.,)
a California limited liability corporation; L.B. REDDY ' )
ESTKTE CO., a 'California limited liability company;-JAY )
CONSTRUCT!ON, a Califoiiiia solel proprietorship; )
ACTIVE TECH SOLUTlONS, a California corporation; )
VANI COMPUTER SOLUTIONS, a Califomia limited )
liability corporation; LAi<mi-:DDY iam REDDY dib/a ' )
REDDY REALTY CO., a Ca|ifomia sole proprietorship; )
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and ROES l t_hr_ough 100, inclusive, '

Defendanrs.

 

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TOL G

'l`his Amendment to the Tolling Agreement is entered into by and between the parties to
the Tolling Agreement attached hereto as Exhibit A.

WHEREAS, the Plaintifi`Parties assert that some ot` them have causes of action against
Det`endant Paities as well as other parties not covered by the Tolling Agreement for wman
death and personal injuries as a result of a gas heater incident at 2020 Bancroft Way on or about

November 23, 1999; and

wiii~:aEAs ute mandamus assert nn the sling orr complaint for mogul assur
and personal injuries as a result ofthe gas heater incident described above is necessitated by the
statute of limitations because not all the parties against whom Flainti&'s assert they have comes of

action are parties to the Tolling Agreement;
NOW THEREFORE, in this Amendment it hereby is agreed as follows: -

l. It'some of the Plainritt'Panies file a complaint for wrongful death and personal
injuries as a result of the gas heater incident described above (hereinafter the “Gas Hcater
Complaint"), Defendant Parties will not assert that Plainti&' failure to assert in that complaint
other claims that one or more PlaintiEParties may have against one cr more Defendant parties
bars a nature action by any Plaintif!`-Panies against any Defendant Patties on such other claims or
in any way renders the Tolling Agreement invalid or ineffective Defendarit Parties specitically
agree that in the event of a future lawsuit by Plaintift`Parties against Det`endaot Parties, Defendant
Parcies will not raise a defense of claim splitting, res judicata or a similar defense based on any or
all of the Plaintill`Parties' failure to include other claims or causes of action in the Gas Heater

Complainr.

2. Neither the execution of this Amendment nor its contents shall be used or
construed in any way as an admission ofliability.by any party hereto.

3. The parties may execute this document in multiple counterparts, all of which shall
constitute the same agreement Signacures may be delivered by facsimile transmission

Dated: Novcmbei'?_?/ZCOO ALTSHULER. BF.RZON, NUSSBAUM,
RUBIN & DE

/Mi'chsel aubin
Attorncys for Plaintifl' Parties

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' Datea: November?_z, 2000 Howaat), mCE, NEMBRovsKI, cANAt)Y,
_ FALK a RABKIN
By ,£@4»4//`/ §;/~t/~/
Alan W. Sparer
Attorneys for Defendant Parties

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